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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                :
                                        :
                                        :
           v.                           :       CRIMINAL NUMBER 21-158
                                        :
                                        :
KYLE FITZSIMONS                         :



                             ENTRY OF APPEARANCE


    I hereby enter my appearance on behalf of the defendant in the above-captioned matter.




                                                Respectfully submitted,



                                                /s/ Natasha Taylor-Smith
                                                NATASHA TAYLOR-SMITH
                                                Assistant Federal Defender
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                                 CERTIFICATE OF SERVICE


        I, Natasha Taylor-Smith, Assistant Federal Defender, Federal Community Defender

Office for the Eastern District of Pennsylvania, hereby certify that I caused a copy of the

foregoing Entry of Appearance on behalf of Defendant to be served by Electronic Case Filing

(“ECF”) upon Brandon Regan, Assistant United States Attorney, United States Attorney’s

Office, 555 4th St., NW, Washington, DC 20530.




                                                     /s/ Natasha Taylor-Smith
                                                     NATASHA TAYLOR-SMITH
                                                     Assistant Federal Defender

DATE:          May 12, 2020
